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 Attorney or Party Name, Address, Telephone & FAX Nos., FOR COURT USE ONLY
 State Bar No. & Email Address
 RON BENDER (SBN 143364)
 MONICA Y. KIM (SBN 180139)
 JULIET Y. OH (SBN 211414)                                                                              FILED & ENTERED
 LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
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 JYO@LNBYB.com                                                                                            Central District of California
                                                                                                          BY bolte      DEPUTY CLERK




       Attorney for: Chapter 11 Debtors
 and Debtors in Possession
                                           UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

 In re:                                                                         LEAD CASE NO.: 8:21-bk-10958-ES
 PLAMEX INVESTMENT, LLC, a Delaware limited liability                           CHAPTER: 11
 company,
                                                                    Debtor      JOINTLY ADMINISTERED WITH:
  ---------------------------------------------------------------------------   CASE NO.: 8:21-bk-10957-ES
 In re:

 3100 E. IMPERIAL INVESTMENT, LLC, a Delaware
 limited liability company,

                                         Debtor
 _____________________________________________

     Affects Both Debtors                                                            ORDER    GRANTING    DENYING
     Affects Plamex Investment, LLC only
                                                                                       MOTION TO APPROVE JOINT
                                                                                       ADMINISTRATION OF CASES
     Affects 3100 E. Imperial Investment LLC only
                                                                                               [LBR 1015-1, 9013-1(q)]


                                                                Debtor(s)                           [No Hearing Required]

On (date) April 14, 2021, a motion was filed requesting approval of joint administration of the cases identified in the caption
above, with the lead case being In re Plamex Investment, LLC, case number 8:21-bk-10958-ES.

Having reviewed the motion, IT IS ORDERED THAT:

1. The motion is:           Granted           Denied

2. Promptly upon entry of an order granting a motion to approve joint administration:

    a) Using the mandatory court form, the movant must file a Notice of Joint Administration of Cases and Requirements
       for Filing Documents (Notice).

               This form is mandatory. It has been approved for use in the United States Bankruptcy Court, Central District of California.

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    b) To facilitate service of the Notice by NEF to registered CM/ECF users, the Notice must be filed in each case being
       jointly administered.

    c) The Notice must be served via United States mail on all creditors and interest holders in each case being jointly
       administered.

    d) To facilitate notice of documents sent by the court via the Bankruptcy Noticing Center, the movant must file in the
       lead case an amended master mailing list that contains the name and mailing address of all creditors and interest
       holders from each case being jointly administered.

3. Other:


                                                                         ###




                Date: April 15, 2021




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court, Central District of California.

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